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 September 14, 2018


 VIA ECF
 The Honorable Cecelia G. Morris
 Chief Judge
 United States Bankruptcy Court
 Southern District of New York
 355 Main Street
 Poughkeepsie, NY 12601

 Re:      In re: Richard B. Colletti, Debtor, Chapter 13, Case No. 16-35143 (CGM)

 Dear Chief Judge:

 Shellpoint Mortgage Servicing recently retained us to represent them in this case. We write to
 inform Your Honor that Phillip Pluister, Director of Foreclosure at Shellpoint, will appear in
 person on Tuesday, September 18, 2018, at 9:30 a.m., pursuant to this Court's Order to Show
 Cause, dated September 6, 2018. (ECF Doc. # 104.) Shellpoint only employs two Senior Vice
 Presidents, neither of whom have working knowledge of debtor's mortgage; Mr. Pluister,
 however, is personally familiar with the debtor's mortgage and loss mitigation review.

 Thank you for your attention to this matter.

                                                     Respectfully,
                                                     s/ Kathleen R. Fitzpatrick
                                                     Kathleen R. Fitzpatrick



 cc:      Richard Scott Zirt, Counsel for Debtor (via ECF)
          Scott Sydelnik, Co-Counsel for Shellpoint Mortgage Servicing (via ECF)
          Adam J. Friedman, Counsel for SN Servicing Corporation (via ECF)




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